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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

Omnitek Partners LLC,

                       Plaintiff,                   Civil Action No. 6:20-cv-437

       v.

General Motors Company, dba GM                      JURY TRIAL DEMANDED

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Omnitek Partners LLC (“Omnitek” or “Plaintiff”), for its Complaint against

Defendant General Motors Company, (“GM” or “Defendant”) alleges the following:

                                    NATURE OF THE ACTION

       1.       This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

       2.       Plaintiff Omnitek is a Limited Liability Company organized under the laws of the

State of New Jersey with a place of business at 85 Air Park Drive, Unit 3, Ronkonkoma, New

York, 11779.

       3.       Omnitek is the current assignee of United States Patent No. 8,224,569 (“the ’569

patent”)(Exhibit A)(“the patent in suit.”).

       4.       On or around October 14, 2005, Omnitek acquired 100% ownership of all right,

title and interest in the patent in suit, including the right to bring patent enforcement actions for

damages. The assignment to Omnitek of ownership of the ’569 patent was recorded with the

United States Patent & Trademark Office (“USPTO”) on or around October 21, 2005 by virtue

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of the assignment of the original parent application referencing all subsequent related

applications and recorded at Reel 017101, Frame 0819 of the USPTO assignment records.

        5.       Defendant GM is a corporation organized and existing under the laws of

Delaware, with a principal place of business at 300 Renaissance Ctr

Detroit, MI 48243. Upon information and belief, GM uses, sells, and offers to sell products and

services throughout the United States, including in this judicial district, and introduces products

and services into the stream of commerce that incorporate infringing technology knowing that

they would be sold in this judicial district and elsewhere in the United States.

                                  JURISDICTION AND VENUE

        6.       This is an action for patent infringement arising under the Patent Laws of the

United States, Title 35 of the United States Code.

        7.       This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

        8.       Regarding Defendant GM, venue is proper within this District under 28 U.S.C. §

1400(b) because, on information and belief, GM maintains a regular and established place of

business in this District, the Autonation Chevrolet Waco located at 1625 N. Valley Mills Drive

Waco, Tx 76710 , and has committed infringing acts in this District. These infringing acts

include at least its sales of Accused Instrumentalities in this District and also under 28 U.S.C. §

1391(b)(2) because GM sells and offers to sell products and services throughout the United

States, including in this District, and introduces products and services into the stream of

commerce and effectuates these sales knowing that the products and services would be sold in

this District and elsewhere in the United States.

        9.       GM – directly or through intermediaries (including distributors, retailers, and

others), subsidiaries, alter egos, and/or agents – ships, distributes, offers for sale, and/or sells its

products in the State of Texas and this District. GM has purposefully and voluntarily placed its
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infringing products into the stream of commerce with the awareness and/or intent that they will

be purchased by consumers in this District. GM knowingly and purposefully ships infringing

products into and within this District through an established distribution channel. These

infringing products have been and continue to be purchased by consumers in this District. Upon

information and belief, through those activities, GM has committed the tort of patent

infringement in this District.

       10.     On information and belief, Defendant is subject to this Court’s general and

specific personal jurisdiction because Defendant has sufficient minimum contacts within the

State of Texas and this District (including via use and/or sales of Defendant’s products and

services), pursuant to due process and/or the Texas Long Arm Statute because Defendant

purposefully availed itself of the privileges of conducting business in the State of Texas and in

this District, because Defendant regularly conducts and solicits business within the State of

Texas and within this District, and because Plaintiff’s causes of action arise directly from

Defendant’s business contacts and other activities in the State of Texas and this District. Having

purposefully availed itself of the privilege of conducting business within this District, Defendant

should reasonably and fairly anticipate being brought into court here.

                                        BACKGROUND

       The Invention

       11.     The Plaintiff is the owner by assignment of a portfolio of patents, including the

patent described in detail in the counts below (the “Asserted Patent”). The patent relates to

technology for providing driving directions, including permitting variations as to preferences in

the routing provided such as, but not limited to, generating intermediate addresses in the routing

provided. A true and correct copy of the ’569 patent is attached as Exhibit A.



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        12.     Omnitek is the rightful owner of the Asserted Patent and holds the entire right,

title, and interest in the Asserted Patent.

        Advantage Over the Prior Art

        13.     The patented invention disclosed in the ’569 patent provides many advantages

over the prior art and in particular, allow parties to select addresses or locations to be used for

guidance and generate customized routes between these addresses or locations based on a user’s

preferences. For example, the inventions allow parties to generate driving instructions from a

named road to an ending address or location, while also detailing that the generated route not

include a specified type of road, such as an interstate. (‘569 patent at 3:32-43.)

        14.     Another advantage of the patented invention is that a user of the patented

invention may customize the generated directions to suit the user’s particular needs for a

particular trip. For example, the patented invention allows a user to input an instruction to start

from a specific nearby road, rather than including instructions from the user’s current location to

the specific nearby road. (‘569 patent at 3:44-64.)

        15.     Yet another advantage of the patented invention is that the user may select

starting and ending addresses or locations on a map without any associated text entry. For

example, the patented invention allows a user to click on a starting address or location on a map

to indicate the directions should be generated starting from that first clicked location, and then

clicking on an ending address or location on the map to indicate the directions generated should

conclude at that second clicked location. (See ‘569 patent at 2:32-37.)

        16.     Because of at least the above described significant advantages that can be

achieved through the use of the patented invention, Omnitek believes that the ’569 patent

presents commercial value for companies like GM.



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       Technological Innovation

       17.     The patented invention disclosed in the and ’569 patent resolves technical

problems related to computerized navigation technologies, particularly problems related to the

lack of customization options available to suit the particular needs or preferences of a user. As

the ’569 patent explains, it was known in the art how one may typically obtain driving directions

from software or at an Internet website. (‘569 patent at 1:19-22.) Typically, a user would enter a

starting address and an ending address into a navigation service which would then interpret these

addresses to generate driving directions to be displayed to the user. (‘569 patent at 1:22-24.) In

order to generate these directions, these services used a system to determine the best routes for

the user. (‘569 patent at 1:24-26.) This system may include a weighting system that assigned

certain weights to different types of roads, including small roads, secondary roads, highways, or

interstates. (‘569 patent at 1:26-30.) Depending on the distance between the provided addresses,

the services may have generated directions and routes including travel by way of highways.

(‘569 patent at 1:30-32.)

       18.     Although these prior services were useful in providing these directions, the

services did not allow a user to customize the directions generated to suit the user’s particular

needs or preferences. (‘569 patent at 1:32-34.) As such, there existed a need for a system or

method to allow the user to enter very specific instructions for starting and ending addresses,

including the setting of user preferences.

       19.     The invention described in the ’569 patent offers an improved method for

electronically generating driving directions. (‘569 patent at 1:40-41.) The patented invention

improved upon earlier services and methods of the prior art by indicating one or more

preferences for the directions or route to be generated. (See ’569 patent at 3:32-4:29.) In



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particular, the patented invention allows a user to set preferences, including a preference to use

no roads of a particular type, (‘569 patent at 3:41-43,) or a preference to start the driving

directions from a particular road (‘569 patent at 3:65-4:4.)

       20.     Another limitation in the prior art was the reliance on the requirement of text in

describing the starting and ending addresses. The patented invention overcomes this limitation

by allowing the user to select or indicate starting and ending locations by selecting these

locations on a map using any of a plurality of gestures, including clicking and dragging. (See

‘569 patent at 2:32-37.)

       21.     The claims of the ’569 patent do not merely recite the performance of some

business practice known from the pre-Internet world along with the requirement to perform it on

the Internet. Instead, the claims of the ’569 patent recite one or more inventive concepts that are

rooted in computerized navigation technologies, and overcome problems specifically arising in

the realm of these technologies.

       22.     The claims of the ’569 patent recite an invention that is not merely the routine or

conventional use of computerized navigation technology. Instead, the invention makes it

possible to interact the navigation in a way that allows a user to customize the generated route

according to the user’s preferences. The claims of the ’569 patent thus specify how navigation

input, output, and system devices are manipulated to yield a customized navigation experience

based on the entries of the user.

       23.     The technology claimed in the ’569 patent does not preempt all ways of using

interactive navigation technology, nor preempt the use of any well-known navigation

technology, nor preempt any other well-known or prior art technology.




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       24.     The claims of the ’569 patent are not directed to any “method of organizing

human activity,” “fundamental economic practice long prevalent in our system of commerce,”

nor are any of the claims “a building block of the modern economy.”

       25.     The claims of the ’569 patent are directed toward a solution rooted in computer

technology and uses technology, unique to computers and networks, to overcome a problem

specifically arising in the realm of computerized navigation technologies.

       26.     The claims of the ’569 patent are not directed at a mere mathematical relationship

or formula.

       27.     The claims of the ’569 patent cannot be performed by a human, in the human

mind, or by pen and paper.

       28.     Accordingly, each claim of the ’569 patent recites a combination of elements

sufficient to ensure that the claim in practice amounts to significantly more than a patent on an

ineligible concept.

       29.     Plaintiff is the assignee and owner of the right, title, and interest in, and to, the

’569 patent, including the right to assert all causes of action arising under said patent and the

right to any remedies for infringement of them.

               COUNT I – INFRINGEMENT OF U.S. PATENT NO. 8,224,569

       30.     The allegations set forth in the foregoing paragraphs 1 through 29 are

incorporated into this First Claim for Relief.

       31.     On July 17, 2012, the United States Patent and Trademark Office duly and legally

issued the ’569 patent. The ’569 patent is titled “Software Based Driving Directions.” The

application leading to the ’569 patent was filed on December 22, 2009. A true and correct copy

of the ’569 patent is attached hereto as Exhibit A.



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       32.     Upon information and belief, GM directly infringes and continues to directly

infringe at least claim 2 of the ’569 patent, in the United States, under 35 U.S.C. § 271(a),

literally or under the doctrine of equivalents, by, among other things, making, using, selling,

offering to sell, importing and/or providing and/or causing to be used a method for electronically

generating driving directions without text entry in its MyLink technology found in its vehicles.

(See source: https://www.chevrolet.com/owners/mylink-vehicle-technology, last accessed and

downloaded May 28, 2020,) along with related systems and software for access and use of such

methods (the “Accused Instrumentalities”) as in claim 2 of the ’569 patent. (See Omnitek’s

Claim Chart for claim 2 of the ’569 patent, Ex. B at 1-21.) GM describes the system as one that

allows a user to “[n]avigate confidently at the push of a button. Simply tell your Advisor where

you want to go, and get directions downloaded to your vehicle — a voice will call out every

turn.” (Source: https://www.chevrolet.com/owners/mylink-vehicle-technology, last accessed and

downloaded May 28, 2020.

       33.     On information and belief, Defendant GM is a for-profit organization with

revenues of approximately $137 billion U.S.D. per year. Moreover, Defendant, its employees

and/or agents make, use, sell, offer to sell, import, and/or provide and/or cause to be used the

Accused Instrumentalities for Defendant’s partners and customers, leading to direct or indirect

revenues and profit. On information and belief, without the availability of infringing tools such

as the Accused Instrumentalities, Defendant would be at a disadvantage in the marketplace and

would generate less revenue and profit overall.

       34.     In particular, claim 2 of the ’569 patent generally recites a method for

electronically generating driving directions without text entry, the method comprising indicating

a starting address or starting location on a map without text entry; indicating an ending address



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or ending location on a map without text entry; generating driving directions based on the

indicated starting address or starting location and ending address or ending location; and

indicating an intermediate address or location on the map where the generating generates driving

directions from the starting address or location to the intermediate address and location and from

the intermediate address or location to the ending address or location, wherein the intermediate

address is indicated on a different map as one of the starting and ending address. (Ex. B at 6-21.)

         35.   Use of the Accused Instrumentalities by Defendant’s partners, customers, and/or

end users infringes claim 2 of the ’569 patent through a combination of features which

collectively practice each limitation of claim 2. (Ex. B at 5-13.)

         36.   GM provides a method for electronically generating driving directions without

text entry that comprises both indicating a starting address or starting location and an ending

address or ending location on a map without the use of text entry. (Ex. B at 6-15.) Through the

GM system, a user may indicate its own address as the starting address by activating the MyLink

navigation system. (Ex. B at 6-8 see also https://www.youtube.com/watch?v=U4bdix67dC0 and

https://www.johnhiesterchevy.com/Navigation, last accessed and downloaded May 28, 2020.)

Once activated, the user then selects an ending address by, in one example, selecting a “Recent”

icon to bring up a list of addresses that a user has recently visited, allowing the user to then select

one of these addresses without entering text. (Ex. B at 9-15; see also

https://www.youtube.com/watch?v=U4bdix67dC0, last accessed and downloaded May 28,

2020.)

         37.   The GM method also includes generating driving directions based on the

indicated starting address or location and ending address or ending location. (Ex. B at 16-17; see




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also https://www.youtube.com/watch?v=U4bdix67dC0, last accessed and downloaded May 28,

2020.)

         38.   The GM method also provides indicating an intermediate address or location on

the map where the generating generates driving directions from the starting address or location to

the intermediate address and location and from the intermediate address or location to the ending

address or location. (Ex. B at 18-19.) For example, a user may “add a stop along [the user’s]

current route,” and the user may “search for POIs along [the user’s] route.” (Ex. B at 18; see

also https://www.johnhiesterchevy.com/Navigation, last accessed and downloaded May 28,

2020.) Once received, the MyLink system generates and determines driving directions from the

starting address, to the waypoint, and then from that waypoint to the ending address. (Ex. B at

18-19; see also https://www.johnhiesterchevy.com/Navigation, last accessed and downloaded

May 28, 2020.)

         39.   The method provided by GM also provides cases wherein the intermediate

address is indicated on a different map as one of the starting and ending address. (Ex. B at 20-

21.) Once received, the MyLink system generates and determines driving directions from the

starting address, to the waypoint, and then from that waypoint to the ending address, with the

maps being displayed on different maps, sequentially. (Id.; see also source:

https://www.youtube.com/watch?v=U4bdix67dC0 and

https://www.johnhiesterchevy.com/Navigation, last accessed and downloaded May 28, 2020.)

         40.   Use of the Accused Instrumentalities by Defendant’s partners, customers, and/or

end users infringes claim 2 of the ’569 patent through a combination of features which

collectively practice each limitation of claim 2. (See, Ex. B at 1-21).




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       41.     On information and belief, these Accused Instrumentalities are used marketed,

provided to, and/or used by or for each of Defendant’s partners, clients, customers, and end users

across the country and in this District.

       42.     Defendant was made aware of the ’569 patent and its infringement thereof at least

as early the filing of this Complaint.

       43.     Upon information and belief, since at least the time Defendant received notice,

Defendant has induced and continues to induce others to infringe at least one claim of the ’569

patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or conscious

blindness, actively aiding and abetting others to infringe, including but not limited to each of

Defendant’s partners, clients, customers, and end users, whose use of the Accused

Instrumentalities constitutes direct infringement of at least one claim of the ’569 patent.

       44.     In particular, GM’s actions that aid and abet others to infringe include advertising

and/or providing support services to partners contracted by GM or by distributing the Accused

instrumentalities and providing instruction materials, training, and services regarding the

Accused Instrumentalities which actively induce a user of the GM system to infringe the

Asserted Claims. For example, GM provides potential users with detailed instruction materials

on how to operate the MyLink system in a way that infringes at least one claim of the ’569

patent. (Source: https://my.chevrolet.com/learn/navigation, last accessed and downloaded May

28, 2020.)

       45.     In addition, on information and belief, GM encourages its employees, contract

workers, customers, and other third parties to use the Accused Instrumentalities. (See

https://www.chevrolet.com/owners/mylink-vehicle-technology;




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https://my.chevrolet.com/learn/navigation; and https://www.johnhiesterchevy.com/Navigation;

all last accessed and downloaded May 28, 2020.)

       46.     Additionally, on information and belief, GM promotes the Accused

Instrumentalities through advertising. (See https://www.chevrolet.com/owners/mylink-vehicle-

technology and https://www.johnhiesterchevy.com/Navigation; all last accessed and downloaded

May 28, 2020.)

       47.     GM further provides technical support to help users of the Accused

Instrumentalities address technical concerns. (Source:

https://www.youtube.com/watch?v=U4bdix67dC0; https://www.chevrolet.com/owners/mylink-

vehicle-technology; https://my.chevrolet.com/learn/navigation; and

https://www.johnhiesterchevy.com/Navigation, all last accessed and downloaded May 28, 2020.)

       48.     Upon information and belief, GM has engaged in such actions with specific intent

to cause infringement or with conscious blindness to the resulting infringement because GM has

had actual knowledge of the ’569 patent and that its acts were inducing the infringement of the

’569 patent since at least the date GM received notice by this Complaint that such activities

infringed the ’569 patent.

       49.     Upon information and belief, Defendant is liable as a contributory infringer of the

’569 patent under 35 U.S.C. § 271(c) by offering to sell, selling and importing into the United

States computerized navigation technologies, including firmware, software and/or code with

instructions for following the methods of the Asserted Claims in for operating the MyLink

system in the GM cars, that is especially made or adapted for use in an infringement of the ’569

patent. The Accused Instrumentalities are a material component for use in practicing the ’569




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patent and are specifically made and are not a staple article of commerce suitable for substantial

non-infringing use.

        50.     Defendant GM was made aware of the ’569 patent and its infringement thereof at

least as early as the filing and service of this Complaint. Despite Plaintiff’s notice to GM by this

Complaint regarding the ʼ569 patent, the Defendant continues to infringe the ʼ569 patent.

        51.     Upon information and belief, since at least the time it received notice by this

Complaint, GM’s infringement has been and continues to be willful.

        52. Plaintiff Omnitek has been harmed by GM’s infringing activities with respect to the

ʼ569 patent.

        53.     Omnitek reserves the right to modify its infringement theories as discovery

progresses in this case. It shall not be estopped for purposes of its infringement contentions or its

claim constructions by the claim charts it provides with this Complaint. Omnitek intends the

claim chart (Exhibit D) for the ’569 patent to satisfy the notice requirements of Rule 8(a)(2) of

the Federal Rule of Civil Procedure. The claim chart is not Omnitek’s preliminary or final

infringement contentions or preliminary or final claim construction positions.

                                         JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a trial by

jury on all issues triable as such.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment for itself and against Defendant as follows:

        A.      An adjudication that Defendant has infringed the ’569 patent;

        B.      An award of damages to be paid by Defendant adequate to compensate Plaintiff

for Defendant’s past infringement of the ’569 patent, and any continuing or future infringement



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through the date such judgment is entered, including interest, costs, expenses and an accounting

of all infringing acts including, but not limited to, those acts not presented at trial;

        C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

Plaintiff’s reasonable attorneys’ fees; and

        D.      An award to Plaintiff of such further relief at law or in equity as the Court deems

just and proper.


Dated: May 29, 2020                            DEVLIN LAW FIRM LLC


                                               /s/ Alex Chan
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